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links/open attachments if source is unknown.

I just wanted to forward the arrest incident that happened on July 22, 2022. I
guess everyone needs a friend and loyal support so Bolton has Klee, Clemons and
Moron holding him up. Good steady crew. Let's hope the PCC knocks this guy on
his ass.

Laurie

---------- Forwarded message ---------
From: Laurie Ortolano <laurieortolano@gmail.com>
Date: Wed, Aug 17, 2022 at 10:07 PM
Subject: Botlon tried to arrest me again in City Hall on July 22, 2022
To: <mburdette@nashuatelegraph.com>, Dean Shalhoup
<dshalhoup@nashuatelegraph.com>


Good Evening,

Lot going on right now. I just filed a big RTK lawsuit against the City on the
Downtown Barriers, the Performing Arts Center and the Tax Incremental
Financing Districts. It went into Court on Monday and I have a hearing for 90
minutes on September 7 at 1:30. Attached is the lawsuit. Hit the Economic
Development Department with over 50 violations.

Attached is a police report. I went to City Hall on July 22, 2022 to try to get some
letters sent to me via the City's CITRIX portal. I was super frustrated for two day
because I could not download emails. Asked the City to fix their fucking portal.
Went to the third floor and tried to speak with someone in IT but no one
answered the bell.

The legal office had a letter for me so I walked to the side hallway to get the
phone number for legal off the plaque and dialed into the office. The side door to
the office opened and I thought the clerk was going to give me the letter, but
instead Bolton was at the door with the door opened about 15 inches. He started
hollering at me to go, leave, I will have you arrested, you are trespassing. I had
the phone to my ear speaking with Manuela (Clerk) and I told him I just got the
number off the plaque and was speaking to the Clerk, he blew up again and
ordered me to never call the office again or he would have me arrested. I dialed
911 out of fear and asked for the police to come to city hall.

Officer Earnshaw and Officer Abrams came to City Hall and I gave a statement.
Then they and a Sergeant went to speak with Bolton. The attached file documents
the entire thing. Bolton wanted me arrested immediately for criminal trespass,
misdemeanor A for just being in the Hallway. It was beyond upsetting to read the
first page of the report. Honestly, I did not know if the police were going to back
Bolton or me. Bolton was not truthful to the police and said he told me that he
wanted to leave. And I think the report said he stepped into the hallway. He never
stepped out of the doorway.

The police noted in the report that I was only in the hallway for about 2 minutes. I
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was on the phone with Manuela for 20 seconds and then I called 911 and was
probably on the phone for 40 sec. My interface with Bolton was under a minute
and he was accusing me of refusing to leave. I was definitely leaving but I wanted
to give my side of the story to prevent the arrest. And he frightened me.

The best part was when the officer noted that he tried to reason with Bolton but
couldn't. The Corporation Counsel for the 2nd largest City in NH could not be
reasoned with. This man is a danger and a liability to the City. He is no longer
competent and the Mayor just keeps him in office and backs him. All of these
lawsuits are the result of his stupidity; the man is truly a moron and his
sidekick Celia Leonard is a nitwit. Ultimately the police found no grounds for the
arrest. Bolton has no understanding of Constitutional rights. It appears his stroke
from December 2020 has left him impaired and more pissed off and unreasonable
than ever. Not that he was ever pleasant.

I filed a formal complaint with the Professional Conduct Committee of the
Supreme Court. I asked that he be disbarred. I am filing a whole series of
complaints and I have just had it. This City rapes the rights right out of thier
citizens and they think nothing of it.

The last two pages of the police report are very interesting. The police were called
by "someone". in City Hall to come and cover Friday morning because
apparently, the City expected an incident with me. The report did not give the
details of who made the call and why it was made.

Well, officer Gilbert sent a supplemental report last week. Turns out Kim Kleiner
called for 3 officers to come stay in city Hall for about 2.5 hours in the morning.
Turns out I did not show up until 11:30 and they left around 10:50. Who sicced
the police on me, Director Tim Cummings. I criticized him in the finance meeting
on Wednesday evening, July 20 about the RTK violations, the barriers, the PAC,
etc. The Mayor got mad and took my public input away after 1 minute stating that
I could not given my opinion of Mr. Cummings. I only got to speak for 1 minutes.
Mayor took the other 2 and attacked me for being mean to Timmy. I told him to
"Shut his pie hole" He called me out for using a swear word. I never thought pie
hole was a swear word. Then he started talking about the "c" word and brought up
that I have referred to a city lawyer with the "c" word. Not exactly true and he
was just bringing up old stories because he was pissed I was speaking ill of
Timmy. (I attended a board of Assessors Meeting in August 2021, I addressed my
arrest in City Hall and the fact that I believed that Attorney Leonard had lied to
the police. I said she had the "Cuntiest behavior" I had ever seen.) While it may
not have been the most pleasant comment, I did not call her the "c" word. But...
political spin. The issue had not been discussed in a year, and then all of a sudden
at the finance meeting, the Mayor brings up the C word. Guess we know a little
more about his mind.

So, Timmy told Kimberly that Laurie said an expletive and told the Mayor to shut
his pie hole so his stranger danger light went off and Timmy needed protection.
Kleiner told the police that I was scheduled to arrive. But I had set no schedule.
What a waste of officer time. Also, at the last BOA meeting, some City Office
called in police backup to the meeting and officers told Laura Colquhoun that
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      they were told the City expected a problem with the public. There were only a
      handful of citizens who attended and they were totally peaceful. I dialed in from
      Zoom.

      These people are really nuts, disgusting money wasters who Believe they can just
      dog whistle the police for immediate arrests in City Hall. The people are just
      looking for trouble and waiting to pounce on citizens and throw them in jail.

      Now BOA is really clamping down. They cancelled Zoom, Wilshire has
      eliminated letters to the Board so no citizen can send a letter into the Board, and
      Mayor has asked that they change the public input policy such that no one can
      speak about any topic that is not on the agenda and they are adding a profanity
      and civility (totally unconstitutional) to the public input policy.

      There is another big issue dropping soon. Give me a call if you have time. Hope
      you are both well.

      Laurie




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